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                                                             USDOR Case No. 3:21-mj-00032


                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       :       Case No:
                                               :
                v.                             :       UNDER SEAL
                                               :
                                               :       VIOLATION:
                                               :
JEFFREY GRACE,                                 :       18 U.S.C. § 1752(a)(1)
                                               :       (Unlawful Entry to Restricted Building)
                Defendant.                     :
                                               :

                                              ORDER

       This matter having come before the Court pursuant to the application of the United States

to seal criminal complaint, the Court finds that, because of such reasonable grounds to believe

the disclosure will result in flight from prosecution, destruction of or tampering with evidence,

intimidation of potential witnesses, and serious jeopardy to the investigation, the United States

has established that a compelling governmental interest exists to justify the requested sealing.

       1.      IT IS THEREFORE ORDERED that the application is hereby GRANTED, and

that the affidavit in support of criminal complaint and other related materials, the instant

application to seal, and this Order are sealed until the arrest warrant is executed.

       2.      IT IS FURTHER ORDERED that notwithstanding the other provisions of this

ORDER, the government shall be permitted to disclose the Arrest Warrant and Complaint with

its supporting Statement of Facts and related materials in furtherance of its law enforcement

needs and discovery obligations.
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       3.      IT IS FURTHER ORDERED that the Clerk’s office shall delay any entry on the

public docket of the arrest warrant until it is executed.


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Date:-DQXDU\                                 ___________________________________
                                                       =,$0)$5848,
                                                       UNITED STATES MAGISTRATE
                                                       JUDGE
